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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

     In re:
                                                               Chapter 11
     BOY SCOUTS OF AMERICA AND
     DELAWARE BSA, LLC,1                                       Case No. 20-10343 (LSS)

                          Debtors.                             (Jointly Administered)

                   NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                HEARING ON OCTOBER 27, 2022, AT 10:00 A.M. EASTERN TIME

     Parties may connect to the hearing remotely by registering with the Zoom link below no
           later than October 27, 2022 at 8:00 a.m. (Eastern Time) or appear in-person.

                  COURTCALL WILL NOT BE USED FOR THIS HEARING.

                      Please use the following link to register for this hearing:

     https://debuscourts.zoomgov.com/meeting/register/vJIsd-igpj0oGgJP9zvoP6ZeDHyvA4AK2hc

        After registering your appearance by Zoom, you will receive a confirmation email
                        containing information about joining the hearing.

                                     Topic: Boy Scouts of America

               Time: October 27, 2022, at 10:00 a.m. Eastern Time (US and Canada)


MATTER GOING FORWARD:

1.        [SEALED] Motion for Entry of Order Allowing Administrative Claim (D.I. 10338, filed
          09/14/22).

          Objection Deadline: September 22, 2022 at 4:00 p.m. (ET); extended to October 6, 2022
          at 4:00 p.m. (ET).

          Responses Received:

          a)      Debtors’ Preliminary Objection to L.W.’s Motion for Entry of Order Allowing
                  Administrative Claim (D.I. 10449, filed 09/22/22); and



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      The Debtors in the chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
      The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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       b)      Debtors’ Supplemental Objection to L.W.’s Motion for Entry of Order Allowing
               Administrative Claim (D.I. 10543, filed 10/06/22).

       Related Pleadings:

       a)      REDACTED Motion for Entry of Order Allowing Administrative Claim
               (D.I. 10339, filed 09/14/22);

       b)      Order Adjourning Hearing on L.W.’s Motion for Entry of Order Allowing
               Administrative Claim (D.I. 10456, filed 09/22/22);

       c)      Affidavit of Service re: Emergency Motion for Adjournment of Hearing on L.W.’s
               Motion for Entry of Order Allowing Administrative Claim (D.I. 10448); Debtors’
               Preliminary Objection to L.W.’s Motion for Entry of Order Allowing
               Administrative Claim (D.I. 10449); and Debtors’ Request to Waive Hearing on
               Motion for Adjournment of Hearing on L.W.’s Motion for Entry of Order Allowing
               Administrative Claim Or, in the Alternative, Motion to Shorten Notice (D.I. 10450)
               (D.I. 10480, filed 09/26/22);

       d)      Notice of Service of Emergency Motion for Adjournment of Hearing on L.W.’s
               Motion for Entry of Order Allowing Administrative Claim (D.I. 10448); Debtors’
               Preliminary Objection to L.W.’s Motion for Entry of Order Allowing
               Administrative Claim (D.I. 10449); and Debtors’ Request to Waive Hearing on
               Motion for Adjournment of Hearing on L.W.’s Motion for Entry of Order Allowing
               Administrative Claim Or, in the Alternative, Motion to Shorten Notice (D.I. 10450)
               (D.I. 10482, filed 09/27/22);

       e)      Affidavit of Service re: Debtors’ Supplemental Objection to L.W.’s Motion for
               Entry of Order Allowing Administrative Claim (D.I. 10569, filed 10/07/22); and

       f)      Notice of Service of Debtors’ Supplemental Objection to L.W.’s Motion for Entry
               of Order Allowing Administrative Claim (D.I. 10581, filed 10/12/22).

Status: This matter is going forward.

RESOLVED MATTERS:

2.     Debtors’ Motion for Entry of an Order (I) Approving the Stipulation Among the BSA,
       AOA Debtor and AOA Committee and (II) Granting Related Relief (D.I. 10546, filed
       10/06/22).

       Objection Deadline: October 20, 2022 at 4:00 p.m. (ET).

       Responses Received:

       a)      None.



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       Related Pleadings:

       a)     Declaration of Brian Whittman in Support of Debtors’ Motion for Entry of an Order
              (I) Approving the Stipulation Among the BSA, AOA Debtor and AOA Committee
              and (II) Granting Related Relief (D.I. 10547, filed 10/06/22); and

       b)     Order (I) Approving the Stipulation Among the BSA, AOA Debtor and AOA
              Committee and (II) Granting Related Relief (D.I. 10640, filed 10/24/22).

Status: An order has been entered. No hearing is necessary.

3.     Motion of Debtors for Entry of an Order (I) Granting Relief from the Automatic Stay to
       Permit JPMorgan Chase Bank, N.A. to Apply Collateral Account Funds to Reimburse Cash
       Collateralized Letter of Credit Disbursements and (II) Granting Related Relief (D.I. 10574,
       filed 10/11/22).

       Objection Deadline: October 20, 2022 at 4:00 p.m. (ET).

       Responses Received:

       a)     None.

       Related Pleadings:

       a)     Order (I) Granting Relief from the Automatic Stay to Permit JPMorgan Chase
              Bank, N.A. to Apply Collateral Account Funds to Reimburse Cash Collateralized
              Letter of Credit Disbursements and (II) Granting Related Relief (D.I. 10639, filed
              10/24/22).

Status: An order has been entered. No hearing is necessary.

MATTERS ADJOURNED:

4.     [SEALED] Emergency Motion of Pro-Se Claimant Numbers SA-101730 & SA-47539 for
       Entry of an Order Pursuant to Sections 105, 1103, 1125, and 1126 of the Bankruptcy Code
       for Entry of an Order Appointing a Plan Voting Ombudsman and Granting Related Relief
       (D.I. 8884, filed 02/10/22).

       Objection Deadline: N/A.

       Responses Received:

       a)     Debtors’ Objection to Emergency Motion of Pro-Se Claimant Numbers SA-101730
              & SA-47539 for Entry of an Order Pursuant to Sections 105, 1103, 1125, and 1126
              of the Bankruptcy Code Appointing a Plan Voting Ombudsman and Granting
              Related Relief (D.I. 9525, filed 03/30/22).




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       Related Pleadings:

       a)     REDACTED Emergency Motion of Pro-Se Claimants for Entry of an Order
              Appointing a Plan Voting Ombudsman and Granting Related Relief (D.I. 8885,
              filed 02/10/22);

       b)     Omnibus Notice of Hearing Regarding Motions filed by M.C. (D.I. 10589, filed
              10/13/22); and

       c)     Notice of Service of Omnibus Notice of Hearing Regarding Motions filed by M.C.
              (D.I. 10632, filed 10/20/22).

Status: The parties have agreed to adjourn this matter until December 15, 2022.

5.     [SEALED] Motion to Compel Discovery Production Order (D.I. 9418, filed 03/21/22).

       Objection Deadline: N/A.

       Responses Received:

       a)     Debtors’ Response to Michael Cutler’s Motion to Compel Discovery Production
              Order (D.I. 9526, filed 03/30/22).

       Related Pleadings:

       a)     REDACTED Motion to Compel Discovery Production Order (D.I. 9419, filed
              03/21/22);

       b)     Omnibus Notice of Hearing Regarding Motions filed by M.C. (D.I. 10589, filed
              10/13/22); and

       c)     Notice of Service of Omnibus Notice of Hearing Regarding Motions filed by M.C.
              (D.I. 10632, filed 10/20/22).

Status: The parties have agreed to adjourn this matter until December 15, 2022.

6.     [SEALED] Pro-Se Claimants Motion to Motion to Dismiss the Chapter 11 Bankruptcy
       Petition, or Motion for the Appointment of a Chapter 11 Trustee (D.I. 9535, filed 03/31/22).

       Objection Deadline: N/A.

       Responses Received:

       a)     Debtors’ Objection to Pro-Se Claimant Numbers SA-101730 & SA-47539’s
              Motion to Dismiss the Chapter 11 Bankruptcy Petition, or Motion for the
              Appointment of a Chapter 11 Trustee (D.I. 9793, filed 05/11/22).




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       Related Pleadings:

       a)     REDACTED Pro-Se Claimants Motion to Motion to Dismiss the Chapter 11
              Bankruptcy Petition, or Motion for the Appointment of a Chapter 11 Trustee
              (D.I. 9536, filed 03/31/22);

       b)     Omnibus Notice of Hearing Regarding Motions filed by M.C. (D.I. 10589, filed
              10/13/22); and

       c)     Notice of Service of Omnibus Notice of Hearing Regarding Motions filed by M.C.
              (D.I. 10632, filed 10/20/22).

Status: The parties have agreed to adjourn this matter until December 15, 2022.

7.     [SEALED] Motion to Disqualify White & Case LLP and Derek Abbott of Morris Nichols,
       and Related Associates, for the Boy Scouts of America, Pro-Se Claimants Motion to
       Dismiss the Chapter 11 Bankruptcy (D.I. 9640, filed 04/13/22).

       Objection Deadline: N/A.

       Responses Received:

       a)     Debtors’ Objection to Motion to Disqualify White & Case LLP and Derek Abbott
              of Morris Nichols, and Related Associates, for the Boy Scouts of America, Pro-Se
              Claimant/Creditor Numbers SA-101730 & SA-47539 Motion to Dismiss the
              Chapter 11 Bankruptcy (D.I. 9889, filed 06/06/22).

       Related Pleadings:

       a)     REDACTED Motion to Disqualify White & Case LLP and Derek Abbott of Morris
              Nichols, and Related Associates, for the Boy Scouts of America, Pro-Se Claimants
              Motion to Dismiss the Chapter 11 Bankruptcy (D.I. 9641, filed 04/13/22);

       b)     Omnibus Notice of Hearing Regarding Motions filed by M.C. (D.I. 10589, filed
              10/13/22); and

       c)     Notice of Service of Omnibus Notice of Hearing Regarding Motions filed by M.C.
              (D.I. 10632, filed 10/20/22).

Status: The parties have agreed to adjourn this matter until December 15, 2022.

8.     Motion to File Supplemental Pleading Regarding Complaint for Declaratory Judgment
       (D.I. 10144, filed 08/01/22).

       Objection Deadline: N/A.




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       Responses Received:

       a)     Objection to Pro-Se Claimant/Creditors SA-101730 & SA-47539 Motion to File
              Supplemental Pleading Regarding Complaint for Declaratory Judgment
              (D.I. 10630, filed 10/20/22).

       Related Pleadings:

       a)     Omnibus Notice of Hearing Regarding Motions filed by M.C. (D.I. 10589, filed
              10/13/22);

       b)     Notice of Service of Objection to Pro-Se Claimant/Creditors SA-101730 & SA-
              47539 Motion to File Supplemental Pleading Regarding Complaint for Declaratory
              Judgment (D.I. 10631, filed 10/20/22); and

       c)     Notice of Service of Omnibus Notice of Hearing Regarding Motions filed by M.C.
              (D.I. 10632, filed 10/20/22).

Status: The parties have agreed to adjourn this matter until December 15, 2022.

9.     Motion of Angie Garcia for and on Behalf of Her Minor Daughter, Emely Santos for Relief
       from the Automatic Stay and/or Plan Injunction (D.I. 10584, filed on 10/12/22).

       Objection Deadline: October 20, 2022 at 4:00 p.m. (ET); extended to October 31, 2022
       at 4:00 p.m. (ET).

       Responses Received:

       a)     None.

       Related Pleadings:

       a)     None.

Status: The parties have agreed to adjourn this matter until November 16, 2022.

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Dated: October 25, 2022            MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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